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   13
   14                       UNITED STATES DISTRICT COURT
   15         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   16 TREVOR BAUER,                            Case No. 8:22-cv-00868 JVS (ADSx)
   17                                          Assigned to: Judge James V. Selna
           Plaintiff,                          Referred to: Magistrate Judge Autumn
   18                                          D. Spaeth
   19     vs.                                  UNOPPOSED EX PARTE
                                               APPLICATION FOR SEALING
   20 LINDSEY C. HILL AND NIRANJAN             OF DOCKET ENTRY 111
   21 FRED THIAGARAJAH,
   22         Defendant.                       Date: June 28, 2023
   23                                          Time: 10:00 a.m.
        LINDSEY C. HILL,                       Magistrate Judge: Autumn D. Spaeth
   24
                                               Courtroom:        6B
   25         Counterclaimant,
                                               Action Filed: April 25, 2022
   26        vs.                               Discovery Deadline: September 1,
   27                                          2023
        TREVOR BAUER,                          Pretrial Conference: January 22, 2024
   28

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    1          Counter-defendant.             Trial Date: February 13, 2024
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    1       EX PARTE APPLICATION FOR SEALING OF DOCKET ENTRY 111
    2         Pursuant to Local Rule 7-19, plaintiff/counter-defendant Trevor Bauer submits
    3 this ex parte application for the Court to seal, in its entirety, Docket Entry 111 and for
    4 leave for Bauer to re-file his application for leave to file under seal the Joint Stipulation
    5 and accompanying exhibits. Due to a filing error, unredacted portions of Docket Entry
    6 111 were not filed under seal, as was intended by counsel for Bauer. On June 8, 2023,
    7 Bauer’s counsel met and conferred by telephone with counsel for Lindsey Hill,1 who
    8 has no objection to the application to file Docket Entry 111 entirely under seal and for
    9 Bauer to have leave to re-file his application for leave to file under seal the Joint
   10 Stipulation and accompanying exhibits concerning his motion for a protective order
   11 and to quash third party subpoenas. Brown Decl. ¶ 7. The relief sought by the present
   12 application is limited. If the Court grants the relief sought in this application, Docket
   13 Entry 111 will be sealed in its entirety and not considered by the Court. Bauer will then
   14 re-file the application for leave to file under seal the Joint Stipulation and exhibits in
   15 which the unredacted portions will be properly sealed for purposes of the application;
   16 Hill may respond to the re-filed application; and the Court will then determine the
   17 extent to which the Joint Stipulation and exhibits shall remain under seal.
   18         Docket Entry 111 is an application for leave to file under seal narrowly tailored
   19 portions of the parties’ Joint Stipulation and accompanying exhibits regarding Bauer’s
   20 motion for a protective order and to quash third party subpoenas to Jane Does 1, 2, 3,
   21 4, and 5. Brown Decl. ¶ 2. The parts of the Joint Stipulation and accompanying exhibits
   22 that Bauer sought to seal through the application in Docket Entry 111 included those
   23 portions that (i) disclosed the identities of third parties whose private sexual histories
   24 are discussed in the Joint Stipulation—as well as explicit references to descriptions of
   25 Bauer’s purported sexual conduct with those third parties—disclosure of which would
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         Bauer’s counsel conferred with Jesse A. Kaplan, Esq. (SBN: 255059),
   27 jkaplan@ftllp.com , Freedman + Taitelman, LLP 1801 Century Park West, 5th Floor
   28 Los Angeles, California 90067, telephone number, (310) 201-0005.
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    1 violate their and Bauer’s rights to sexual privacy under the California and U.S.
    2 Constitutions; and (ii) exhibits that have been designated “Confidential” by a third-
    3 party—the Pasadena Police Department—under the parties’ Protective Order (ECF
    4 No. 78) and which implicate third parties’ rights to sexual privacy. Brown Decl. ¶ 3.
    5        Due to a filing error, the unredacted portions of those documents were filed
    6 publicly in Docket Entry 111. Brown Decl. ¶ 4. Absent that mistake, the unredacted
    7 documents would have been filed under seal. Id. To correct that filing error, Bauer files
    8 this application in order to entirely seal Docket Entry 111. Good cause and compelling
    9 reasons exist to entirely seal Docket Entry 111 because that entry contains unredacted
   10 information intended to be filed under seal, and sealing Docket Entry 111 will prevent
   11 public disclosure of private and confidential information. Brown Decl. ¶ 5. Bauer
   12 further requests that the Court not consider the entries under Docket Entry 111.
   13        Bauer also seeks leave to re-file his application for leave to file the Joint
   14 Stipulation and accompanying exhibits under seal to properly ensure that the
   15 unredacted documents are filed under seal for the Court’s consideration. Brown Decl.
   16 ¶ 6.
   17
   18                                       ZUCKERMAN SPAEDER LLP
   19 DATED: June 8, 2023
   20                                       By: /s/ Blair G. Brown
   21                                           BLAIR G. BROWN
                                                JON R. FETTEROLF
   22                                           NELL PEYSER
   23                                           Attorneys for Plaintiff/counter-defendant
                                                Trevor Bauer
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